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RUSSELL I. MIYAHIRA, ESQ. SBN 122808
ALISON STEVENS SBN. 1921715
HAWTHORNE CITY ATTORNEY'S OFFICE
4455 W. 126TH STREET

HAWTHORNE, CALIFORNIA 90250

TEL: (310) 349-2960

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astevens @cityofhawthorne.org

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Attorneys for Defendants, CITY OF HAWTHORNE, JEFFREY TYS a
(erroneously sued as “Officer Tayo”), MICHAEL MATSON (erronecusly sued
as “Officer Mattson”)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LIONEL GLOVER, FEDERAL CASE NO.
POV Aceh dene nese
PLAINTIFF, STATE'CO NO. BC535903
VS.
NOTICE OF REMOVAL OF ACTION
CIT'Y OF HAWTHORNE, UNDER 28 U.S.C. §1441(a)
OFFICER MATTSON, (Federal Question)
OFFICER TAYO, DOES 1 to 50,

DEFENDANTS.

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

Pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446, Defendants, City of
Hawthorne, Michael Matson and Jeffrey Tysl file this Notice of Removal of this
case from the Superior Court of California, County of Los Angeles, to the United

States District Court, Central District of California. In support of this Notice of

 

NOTICE OF REMOVAL
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Removal, Defendants state as follows:

1. On or about February 11, 2014 Plaintiff, Lionel Glover, commenced
an action in the Superior Court of California, County of Los Angeles — Central
District, against Defendants, the City of Hawthorne, and Hawthorne Police
Officers Michael Matson (erroneously sued as “Officer Mattson’’), and Jeffrey
Tysl (erroneously sued as “Officer Tayo”). Plaintiff?s Complaint (“Complaint’’)
seeks judgment against Defendants for injuries that Plaintiff allegedly suffered as
a result of his arrest for violation of Penal Code §§ 211 (robbery), 242 (battery),
and 647(B), prostitution on March 5, 2013. Plaintiff asserts federal causes of
action for alleged constitutional civil rights violations pursuant to 42 USC §1983
based on claims of unlawful arrest, excessive use of force by Hawthorne police
officers, and failure to summon medical aid. Plaintiff specifically alleges that the
officers were acting under color of state law, and in violation of his civil rights
under both federal law and state law. Plaintiff also alleges that Defendants’
conduct was undertaken pursuant to customs, practices, and policies of
Defendants, such as to invoke a Monell claim. Monell holds that “[lJocal
governing bodies, therefore, can be sued directly under § 1983 for monetary,
declaratory, or injunctive relief where, as here, the action that is alleged to be
unconstitutional implements or executes a policy statement, ordinance,
regulation, or decision officially adopted and promulgated by that body's
officers.” Monell v. Department of Social Services of City of New York (1978)
436 U.S. 658, 690.

2. Defendants, and each of them, were served with the summons and
complaint on March 13, 2014. No answer has been filed in the state court action.
Therefore, Defendants’ Notice of Removal is timely. See 28 U.S.C. § 1446(b).

3. A copy of all process, pleadings and orders served upon Defendants
in the state court action are attached hereto as Exhibit “A.”

4. 28 U.S.C. § 1441(a) provides in pertinent part: “Except as

Case 2:14-cv-02451-SVW-E Document 1: Filed*04/01/14_ Page 2 of 38 Page ID #:54

 

NOTICE OF REMOVAL
-2-

 

 

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otherwise expressly provided by Act of Congress, any civil action brought in a
State court of which the district courts of the United States have original
jurisdiction, may be removed by the plaintiff or the defendants, to the district
court of the United States for the district and division embracing the place where
such action is pending.”

5. Title 28 Part IV Chapter 85 § 1331 - Federal question - provides:
“The district courts shall have original jurisdiction of all civil actions arising
under the Constitution, laws, or treaties of the United States.”

6. This action is a civil action of which this Court has original
jurisdiction pursuant to 42 U.S.C. §1331 and pendent or supplemental
jurisdiction pursuant to 28 U.S.C. §1367. 28 U.S.C. §1367 provides in pertinent
part:

(a) Except as provided in subsections (b) and (c) or as expressly provided
otherwise by Federal statute, in any civil action of which the district courts have
original jurisdiction, the district courts shall have supplemental jurisdiction over
all other claims that are so related to claims in the action within such original
jurisdiction that they form part of the same case or controversy under Article III
of the United States Constitution. Such supplemental jurisdiction shall include
claims that involve the joinder or intervention of additional parties.”

7. This Court has jurisdiction over this matter pursuant to 42 U.S.C.
§1983 as Plaintiff's complaint alleges Defendants violated his civil rights
guaranteed under the United States Constitution, including alleged violations of
the Fourth and Fourteenth Amendments to the United States Constitution, as
well as a civil rights claim of pattern and practice (Monell). (Complaint, page 8.)
The alleged constitutional violations occurred on March 5, 2013, when Plaintiff
was arrested for engaging in prostitution, and battery upon a female. Plaintiff
alleges that he was falsely arrested and imprisoned, and was subjected to

excessive use of force during his arrest. Plaintiff’s causes of action for the

 

NOTICE OF REMOVAL
-3-

 
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Case 2:14-cv-02451-SVW-E Document 1. Filed:04/01/14 Page 4of38 Page ID#:56 ,

intentional torts of assault, battery and false imprisonment all arise from the
same occurrence and controversy as the federal claims. The only “enabling”
statute cited by Plaintiff in his complaint is 42 U.S.C. §1983. Therefore, this
Court has supplemental and/or pendent jurisdiction over Plaintiff's
state/common law claims.

8. Venue is proper in this Court because the State Court Action is
pending in the County of Los Angeles, State of California. See 28 U.S.C. §
1441 (a).

9. A Notice to Adverse Party of Filing of Notice of Removal to
Federal Court will be filed in the Superior Court of California, County of Los
Angeles, as soon as this Notice of Removal has been filed in this Court.

Wherefore, Defendants, CITY OF HAWTHORNE, JEFFREY TYSL, and
MICHAEL MATSON request that the action now pending before the Superior
Court of California, County of Los Angeles, and Civil Action No. BC535903, be

removed to this Court.

Dated: April 1, 2014 RUSSELL I. MIYAHIRA
CITY ATTORNEY

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Alison ‘Stevens//

Assistant City Attorney

Attorneys for Defendants, CITY OF
HAWTHORNE, JEFFREY TYSL
(erroneously sued as “Officer Tayo”),
MICHAEL MATSON (erroneously sued
as “Officer Mattson’)

 

 

 

NOTICE OF REMOVAL
-4-

 
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PROOF OF SERVICE

STATE OF CALIFORNIA
SS.

COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California. I am over the
age of qqghteen and not a party to the within action; my business address is 4455
. 126° Street, Hawthorne, California 90250. On April 1, 2014, I served the
foregoing document described as NOTICE OF on the interested
parties by placing a true copy thereof enclosed in sealed envelope(s) addressed as
ollows:

Michael S. Braun, Esq.

Law Office of Michael S. Braun
3820 Del Amo Blvd., Suite 311
Torrance, CA 90503

(310) 984-3220

X__ BY MAIL: I served the documents by enclosing them in an envelope and
placing the envelope for collection and mailing following our ordinary business
practices. I am readily familiar with this business’s practice of collection and
processing of correspondence for mailing. On the same day that correspondence is
placed for collection and mailing, it is deposited in the ordinary course of business
with the United States Postal Service in a sealed envelope with postage fully
prepaid.

BY PERSONAL SERVICE: I caused such envelope to be delivered by
hand to the office of the addressee(s).

BY FACSIMILE TRANSMISSION: The facsimile machine I used
complied with California Rules of Court 2.301 and no error was reported by the
machine. Pursuant to rule 2.306(h), I caused the machine to print a record of the
transmission, a copy of which is attached to this proof of service.

BY OVERNIGHT DELIVERY: I caused the above-referenced document(s)
to be delivered via overnight delivery, for delivery to the above address(es).

(State) I declare under the penalty of perjury, under the laws of the State of
California, that the above is true and correct.

X___ (Federal) I declare that I am employed in the office of a member of the bar
of this court at whose direction the service was made.

  
 

Executed on April 1, 2014, at Hawthorne,

 

 

 

NOTICE OF REMOVAL
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Case 2:14-cv-02451-SVW-E Document 1, Filed 04/01/14 Page 6 of 38 Page ID #:58
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Case 2:14-cv-02451-SVW-E Document 1 ,Filed 04/01/14. Page 7 of 38 Page ID #:59

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; SUM-100
SUMMONS (SOLO PAA USO BELA CORTE)
(CITACION JUDICIAL) °
NOTICE TO DEFENDANT: CONFORMED COPY
(AVISO AL DEMANDADO): Superior Court of California
City of Hawthorne, Officer Tayo, Officer Mattson, and Does | to 50, ngeles
inclusive FEB 11 2014
YOU ARE BEING SUED BY PLAINTIFF: Sherri R. Cart AF;
(LO ESTA DEMANDANDO EL DEMANDANTE): a . arter, Executive Officer/Clerk
Lionel Glover y Cristina Grijalva, Deputy

 

 

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case, There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county faw library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. If you do not know an attomey, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
jAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versién. Lea la informacion a
continuacion.

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta cifacion y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en fa
biblioteca de leyes de su condado o en Ia corte que le quede mas cerca. Sino puede pagar la cuota de presentacién, pida al secretario de fa corte
que le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y fa corte le
podré quitar su sueldo, dinero y bienes sin més advertencia.

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en ef Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) 0 poniéndose en contacto con /a corte o el
colegio de abogados locales. AVISO: Por ley, fa corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 mas de valor recibida mediante un acuerdo 0 una concesién de arbitraje en un caso de derecho civil. Tiene que

 

pagar el gravamen de Ia corte antes de que la corte pueda desechar el caso.

 

The name and address of the court is: CASE NUMBER:
EI nombre y direccién de la corte es): (Namero del Casas Cc 5 3 5 g 0 3
UPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES B
Central District- Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direccién y el nimero de teléfono del abogado de! demandante, o del demandante que no tiene abogado, es):

 

 

 

 

Michael S. Braun, Esq. (Bar #152461) Fax No.:

Law Office of Michael S. Braun, 3820 Del Amo Blvd., #311, Torrance, CA ret Phone No.: (310) 984-3220
DATE: SHERRI Ri. GARTER Clerk, by STINA GHMALWA , Deputy
(Fecha) (Secretario) (Adjunto)

 

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010)).
(SEAL] ne TO THE PERSON SERVED: You are served
1. as an individual defendant.
2. [—_]} as the person sued under the fictitious name of (specify):

 

3. [__] on behalf of (specify):

rp il 2016 under: [__] CCP 416.10 (corporation) [] CCP 416.60 (minor)
[<_] CCP 416.20 (defunct corporation) [__]| CCP 416.70 (conservatee)
[__] CCP 416.40 (association or partnership) [__] CCP 416.90 (authorized person)

[__] other (specify):
4. [_] by personal delivery on (date):

 

 

 

 

Page 1 of 1
Form Adopted for Mandatory Use Code of Civil Proced
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Case 2:14-cv-02451-SVW-E Document 1, Filed 04/01/14

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lame, State Bar number, and address):
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Page 8 of 38 Page ID #:60

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Ni

Michael S. Braun, Esq. (State Bar # 152
Law Office of Michael S. Braun

3820 Del Amo Blvd., #311
Torrance, CA 90503
TELEPHONE NO: 3 ] 0) 984-3220 FAX NO. (Optional).

€-MAIL ADDRESS (Optional):

 

ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
street appress: ] 1] North Hill Street

MAILING ADDRESS:
city anpzie cove: Los Angeles 90012
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PLAINTIFF: Lionel Glover

50 _ inclusive

DEFENDANT: City of Hawthorne, Officer Tayo, Officer Mattson, and

 

DOES 1 TO
COMPLAINT—Personal Injury, Property Damage, Wrongful Death
("_] AMENDED (Number):

[___] Wrongful Death

[-_] MOTOR VEHICLE
] Other Damages (specify):

Property Damage
[X_] Personal Injury

 

 

Type (check all that apply):
OZER, (saeGify/dtse Imprisonment, and Violation of Civil

CASE NUMBER.

 

Jurisdiction (check all that apply):
(__] ACTION IS A LIMITED CIVIL CASE
[__] does not exceed $10,000

Amount demanded

ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
[__] ACTION IS RECLASSIFIED by this amended complaint

L__] from limited to unlimited

 

[__] exceeds $10,000, but does not exceed $25,000

pC535903

 

 

 

[__] from unlimited to limited
4. Plaintiff (name or names): Lionel Glover
alleges causes of action against defendant (name or names): City of Hawthorne, Officer Tayo, Officer Mattson and
Does 1 to 50, inclusive

2. This pleading, including attachments and exhibits, consists of the following number of pages:

3. Each plaintiff named above is a competent adult
a. [__] except plaintiff (name):
(1) [__] a corporation qualified to do business in California
(2) [_] an unincorporated entity (describe):
(3) [__] a public entity (describe):

(4) [._] aminor [__] an adult

(a) [__] for whom a guardian or conservator of the estate or a guardian ad litem has been appointed

(b) [[_] other (specify):
(5) [__] other (specify):

b. [__] except plaintiff (name):
(1) [-_] a corporation qualified to do business in California

(2) [__] an unincorporated entity (describe):
(3) [__] a public entity (describe):

(4) [__] aminor [__] an adult

(a) [__] for whom a guardian or conservator of the estate or a guardian ad litem has been appointed

(b) [_] other (specify):
(5) [__] other (specify):

COMPLAINT—Personal Injury, Property

[__] information about additional plaintiffs who are not competent adults is shown in Attachment 3.
Damage, Wrongful Death

Form Approved for Optional Use
Judicial Council of Califomia
PLD-PI-001 (Rev. January 1, 2007]

Page 1 of 3

Code of Civil Procedure, § 425.12
www. courtinfo.ca.gov

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PLD-PI-001

 

 

 

 

 

SHORT TITLE: CASE NUMBER:
Glover v. City of Hawthorne
4. [__] Plaintiff (name):
is doing business under the fictitious name (specify):
and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
a. except defendant (name): City of Hawthorne c. [__] except defendant (name):
(1) [__] a business organization, form unknown (1) [_] a business organization, form unknown
(2) [__] a corporation (2) [__] a corporation
(3) an unincorporated entity (describe): (3) [_] an unincorporated entity (describe):
municipality
(4) [__] a public entity (describe): (4) [__] a public entity (describe):
(5) [__] other (specify): (5) [__] other (specify):
b. [__] except defendant (name): d. [__] except defendant (name):
(1) [-] a business organization, form unknown (1) [__] a business organization, form unknown
(2) [__] a corporation (2) [__] a corporation
(3) [-_] an unincorporated entity (describe): (3) [_] an unincorporated entity (describe):
(4) [_] a public entity (describe): (4) [(_] a public entity (describe):
(5) [__] other (specify): (5) [__] other (specify):

[__] Information about additional defendants who are not natural persons is contained in Attachment 5.

6. The true names of defendants sued as Does are unknown to plaintiff.
a. Doe defendants (specify Doe numbers): 1-50 were the agents or employees of other
named defendants and acted within the scope of that agency or employment.
b. Doe defendants (specify Doe numbers): 1-50 are persons whose capacities are unknown to
plaintiff.
7. [(_] Defendants who are joined under Code of Civil Procedure section 382 are (names).

8. This court is the proper court because
a. [__] at least one defendant now resides in its jurisdictional area.
b. [_] the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
C. injury to person or damage to personal property occurred in its jurisdictional area.

d. [__] other (specify):

9. Plaintiff is required to comply with a claims statute, and
a. has complied with applicable claims statutes, or
b. [__] is excused from complying because (specify):

 

PLD-PI-001 (Rev. January 1, 2007} COMPLAINT—Personal Injury, Property Page 2 of 3
Damage, Wrongful Death

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Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14 Page 10 of 38 Page ID #:62

PLD-PI-001

 

SHORT TITLE: CASE NUMBER:

Glover v. City of Hawthorne

 

 

 

40. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
causes of action attached):
a. [_] Motor Vehicle
b. [-_] General Negligence
c. intentional Tort
d. [[_] Products Liability
e. [__] Premises Liability
f. [QC] Other (specify):
False Arrest and Imprisonment, Violation of Civil Code section 43 and Violation of Civil Rights

1983

41. Plaintiff has suffered

[__] wage loss
loss of use of property
hospital and medical expenses
general damage
[__] property damage
(__] loss of earning capacity
other damage (specify):
Exemplary Damages and Attorney Fees

a-paoop

12. [__] The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
a. [__] listed in Attachment 12.
b. [__] as follows:

43. The relief sought in this complaint is within the jurisdiction of this court.

14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
a. (1) [x_] compensatory damages
(2) [3] punitive damages
The amount of damages is (in cases for personal injury or wrongful death, you must check ( 1):
(1) [X_] according to proof
(2) [__] in the amount of: $

15. [[_] The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):

Date: January 24, 2014

Michael S, Braun, Esq. > Hide Ss bo

(TYPE OR PRINT NAME) (SIGNATURE OF PLAINTIFF OR ATTORNEY)

 

PLD-PI-001 [Rev. January 1, 2007} COMPLAINT—Personal Injury, Property Page 3 of 3
Damage, Wrongful Death

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Case 2:14-cv-02451-SVW-E Document 1 _ Filed 04/01/14 Page 11 of 38 Page ID #:63

PLD-PI-001(3)

 

SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne

 

 

 

 

FIRST CAUSE OF ACTION—Intentional Tort Page 4

(number) Assault
ATTACHMENT TO Complaint [__] Cross - Complaint

(Use a separate cause of action form for each cause of action.)
IT-1. Plaintiff (game): Lionel Glover

alleges that defendant (name):
City of Hawthorne, Officer Tayo, Officer Mattson and

Does 1 to 50

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally
caused the damage to plaintiff

on (date): March 5, 2013
at (place): Southbound Eucalyptus Ave,

Hawthorne, CA

(description of reasons for liability): . . .
Defendant City ofHawthore is, and at all times herein mentioned was, a municipal corporation, duly organized under the laws of the State of

California and situated in the County of Los Angeles

Defendant Officer Tayo is an individual, who at all times herein mentioned was an employee of defendant City of Hawthorne as a police officer,
and in doing the acts hereinafter described, acted within the course and scope of his employment.

Defendant Officer Mattson is an individual, who at all times herein mentioned was an employee of defendant City of Hawthorne as a police
officer, and in doing the acts hereinafter described, acted within the course and scope of his employment.

Plaintiff is informed and believes and thereon alleges that at all times herein mentioned each of the defendants sued under fictitious names was the
agent and employee of each of the remaining defendants, and in doing the things hereinafter alleged, was acting within the course and scope of
this agency and employment.

On or about March 5, 2013, plaintiff was attempting to attend to woman he saw that appeared to be in distress. At some point during the
encounter with the woman, the woman drew a knife and Plaintiff and attempted to rob him. As this was occurring, Defendants, and each of them
approached plaintiff and stated that plaintiff was under arrest for prostitution.

The incidents and actions described in the subject complaint occurred at the above described location as well as the Hawthome Police station

Plaintiff protested his innocence of the charge, but otherwise did not attempt to flee or physically resist arrest in any manner whatsoever.

Despite plaintiff's willingness to submit to arrest, Defendants, and each of them struck plaintiff repeatedly before finally handcuffing Plaintiff and
ordering him to enter a police car.

In doing the acts as alleged above, defendant intended to cause or to place plaintiff in apprehension of a harmful or an offensive contact with
plaintiffs person.

As a result of defendant's acts as alleged above, plaintiff, in fact, was placed in great apprehension of a harmful or an offensive contact with
plaintiffs person.

As a proximate result of the acts of defendant as alleged in the first and second causes of action, plaintiff was hurt and injured in his health,
strength, and activity, and person, all of which have caused, and continue to cause, plaintiff great mental, physical, and nervous pain and
suffering. As a result of these injuries, plaintiff has suffered general damages.

As a further proximate result of the acts of defendant, plaintiff has incurred, and will continue to incur, medical and related expenses. The full
amount of these expenses is not known to plaintiff at this time

 

Page 1 of 1
Fonn Approved for Optional Use ’ Code of Civil Procedure, § 425.1
Judicial Council of Califomia CAUSE OF ACTION~Intentional Tort BoM nur court ca gov

PLD-P!-001(3) [Rev. January 1, 2007]
LexisNexis® Automated California Judicial Council Forms
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Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14 Page 12 of 38 Page ID #:64

PLD-PI-001(3)

 

 

 

 

 

SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne
THIRD CAUSE OF ACTION—Intentional Tort Page 6
(number) False Arrest and Imprisonment

ATTACHMENT TO Complaint [__] Cross - Gompiaint

(Use a separate cause of action form for each cause of action.)

[T-1. Plaintiff (name): Lionel Glover

alleges that defendant (name):

City of Hawthorne, Officer Tayo, Officer Mattson and

Does ] to 50

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally
caused the damage to plaintiff

on (date): March 5, 2013
at (place): Southbound Eucalyptus Ave,

Hawthorne, CA

(description of reasons for liability): .
Plaintiff incorporates the allegations of the first and second causes of action, as though fully set forth herein.

Plaintiff was arrested and detained maliciously and without warrant or order of commitment or any other
legal authority of any kind, when Plaintiff had not committed any crime or public offense. Defendants
accused Plaintiff of prostituion, but in fact the offense had not occurred, nor did Defendants have probable
cause to believe that it had occurred or that Plaintiff had committed it.

Defendant's and each of them delivered Plaintiff to the station in Hawthorne, CA where Plaintiff was
imprisoned for a significant period of time until Plaintiff finally secured his release.

The acts of Defendants, and each of them, as herein alleged, were willful, wanton, and malicious, and
oppressive, and justify the awarding of punitive damages as to Officer Tayo, Officer Mattson and/or Does 1

to 50.

 

Page 1 of 1
Form Appraved for Optional Use i id i!
‘ude! Counc of Califorria CAUSE OF ACTION-—Intentional Tort Cone of CM pawn courtn ce gov

PLD-PI-001(3) (Rev. January 1, 2007]

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Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14 Page 13 of 38 Page ID #:65

PLD-PI-004(3)

 

SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne

 

 

 

 

SECOND CAUSE OF ACTION—Intentional Tort Page 5
(number) Battery

ATTACHMENT TO [__] Complaint [-_] Cross - Complaint

(Use a separate cause of action form for each cause of action.)
IT-1. Plaintiff (name): Lionel Glover

alleges that defendant (name):

City of Hawthorne, Officer Tayo, Officer Mattson and

Does 1 to 50

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally
caused the damage to plaintiff

on (date): March 5, 2013
at (place): Southbound Eucalyptus Ave,

Hawthorne, CA
(description of reasons for liability): . .
Plaintiff incorporates the allegations of the first cause of action, as though fully set forth herein.

Defendants, and each of them, did contact Plaintiff several times in effecting their wrongful arrest.
Defendants' handcuffed Plaintiff too tightly, and roughly placed him in the vehicle after handcuffing him.
Further, Defendants, and each of them repeatedly struck Plaintiff, including throwing him to the floor while
he was in their custody.

In doing the acts as alleged in the first cause of action, defendants acted with the intent to make a contact
with plaintiff's person.

At no time did plaintiff consent to any of the acts of defendants alleged in the first and second causes of
action, above.

As a proximate result of the acts of defendants as alleged in the first and second causes of action, plaintiff
suffered significant physical injuries.

As a proximate result of the acts of defendants as alleged in the first and second causes of action, plaintiff
was hurt and injured in his health, strength, and activity, and person, all of which have caused, and continue
to cause, plaintiff great pain and suffering. As a result of these injuries, plaintiff has suffered general
damages.

As a further proximate result of the acts of defendants, plaintiff has incurred, and will continue to incur,
medical and related expenses. The full amount of these expenses is not known to plaintiff at this time.

 

Page 1 of 1
Form Approved for Optional Use | 7 Code of Civil Procedure, § 425.12
Judicial Council of Califomia CAUSE OF ACTION Intentional Tort ewer courtintecager

PLD-PI-001(3) [Rev. January 1, 2007]
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' Case 2:14-cv-02451-SVW-E Document 1 ,.Filed 04/01/14 Page 14 of 38 Page ID #:66

PLD-P1-001(3)

 

SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne

 

 

 

 

FOURTH CAUSE OF ACTION—Intentional Tort Page 7
(number) Violation of Civil Rights (Civ. Code. 43)

ATTACHMENT TO Complaint [__] Cross - Complaint

(Use a separate cause of action form for each cause of action.)
IT-1. Plaintiff (name): Lionel Glover

alleges that defendant (name):
City of Hawthorne, Officer Tayo, Officer Mattson, and

Does 1 to 50

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally
caused the damage to plaintiff

on (date): March 5, 2013
at (place): Southbound Eucalyptus Ave,

Hawthorne, CA
(description of reasons for liability):

Plaintiff incorporates the allegations of the first, second and third causes of actions as though fully set forth
herein.

Under Civ. Code § 43, plaintiff has the right of protection from bodily restraint or harm, from personal
insult, from defamation, and from injury to his personal relations.

As a proximate result of the conduct by defendants, and each of them, interfering with plaintiff's right of
protection from bodily restraint or harm, from personal insult, from defamation, and from injury to his
personal relations, Plaintiff has suffered physical injuries.

The above-recited actions of defendants were done with malice, fraud, or oppression, and in reckless
disregard of the plaintiff's rights.

 

Page 1 of 1
Form Approved for Optional Use ‘ Cade of Civil Proced .
‘udicial Council of California CAUSE OF ACTION-Intentiona! Tort “8 ” mucous got

PLD-P1-001(3) [Rev. January 1, 2007]
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Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14. Page 15 of 38 Page ID #:67

PLD-P1-001(3)

 

SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne

 

 

 

 

FIFTH CAUSE OF ACTION—Intentional Tort Page 8
(number) Violation of Civil Rights 1983
ATTACHMENT TO Complaint [_] Cross - Complaint

(Use a separate cause of action form for each cause of action.)
IT-1. Plaintiff (name): Lionel Glover

alleges that defendant (name):
City of Hawthome, Officer Tayo, Officer Mattson and

Does 1 to 50

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant intentionally
caused the damage to plaintiff

on (date): March 5, 2013
at (place): Southbound Eucalyptus Ave,

Hawthorne, CA
(description of reasons for liability): .
Plaintiff incorporates the allegations of the first through fourth causes of action, as though fully set forth

herein.

This is an action brought under 42 U.S.C. § 1983 to recover damages against defendants, and each of them,
for violation of plaintiff's right to be free of unreasonable seizures under the Fourth and Fourteenth
Amendments to the United States Constitution as well as Defendant's failure to summon medical care for
someone in their custody under Government Code section 845.6.

Defendants, and each of them, was, at all times mentioned in this complaint, acting under color of state law.

Plaintiff alleges that he was subjected to a violation of her right to be free of unreasonable seizures under the
Fourth and Fourteenth Amendments to the United States Constitution, as a result of the customs, practices,
and policies of Defendants.

Further, while under the care of Defendants, and each of them, Defendant's failed to summon medical care
for Plaintiff, even though his hands were noticeably bleeding, while in custody under Government Code
section 845.6.

The actions of defendants, and each of them described in this complaint amounted to deliberate indifference
to the rights of persons, such as the plaintiff, who were acting lawfully and yet were subjected to the acts and
omission stated in this complaint herein.

As a direct and proximate result of the customs, practices, and policies of defendants, and each of them,
described in this complaint, plaintiff has suffered injury, loss, and damage, including physical injuries, loss
of liberty, emotional distress, pain and suffering.

Page 1 of 1

Form Approved for Optional Use ‘ Cade of Civil Pra , § 425.1
Judicial Council of California CAUSE OF ACTION—Intentional Tort ee ror enurtih ca soy
PLO-PI-001(3) (Rev. January 1, 2007]
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, Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14. Page 16 of 38 Page ID #:68

PLD-PI-001(6

 

SHORT TITLE: CASE NUMBER:
Glover v. City of Hawthorne

 

 

 

 

Exemplary Damages Attachment Page 9
ATTACHMENT TO Complaint [[_] Cross - Complaint

EX-1. As additional damages against defendant (name): Officer Tayo, Officer Mattson and Does 1-50

Plaintiff alleges defendant was guilty of
malice

fraud

oppression

as defined in Civil Code section 3294, and plaintiff should recover, in addition to actual damages, damages
to make an example of and to punish defendant.

EX-2. The facts supporting plaintiffs claim are as follows:
Plaintiff incorporates the allegations of the first, through fifth causes of action as though fully set forth
herein.

Further, Defedants, and each of them, while acting in the course and scope of their employment, knew
or should have had reason to know that Plaintiff was in need of immediate medical care due to the
medical conditions she was experiencing. However, Defendants, and each of them, willfully failed to
take reasonable action to summon immediate medical care, which resulted in Plaintiff incurring
additional injuries.

EX-3. The amount of exemplary damages sought is
a. not shown, pursuant to Code of Civil Procedure section 425.10.

 

b. LJ $
Page 1 of 1
Form Approved for Optionat Use
Judicial Council of Califomia Exemplary Damages Attachment Cone of OM yw court oa.gov

PLD-PI-001 (6) [Rev. January 1, 2007]

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SHORT TITLE:

Glover v. City of Hawthorne

CASE NUMBER

 

BC5 95903

 

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION

(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 

Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:

JURY TRIAL? YES CLASS ACTION? C YES LIMITED CASE? LIves TIME ESTIMATED FOR TRIAL

5 © Hours: &l pays

 

Item Il. Indicate the correct district and courthouse location (4 steps — If you checked “Limited Case”, skip to Item III, Pg. 4):

Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
checked. For any exception to the court location, see Local Rule 2.0.

ALON

Step 4: Fill in the information requested on page 4 in Item II; complete Item IV. Sign the declaration.

Auto

Other Personal Injury/ Property

. Class actions must be filed in the Stanley Mosk Courthouse, central district.
. May be filed in central (other county, or no bodily injury/property damage).

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below)

 

 

. Location where cause of action arose.

. Location where bodily injury, death or damage occurred.
. Location where performance required or defendant resides.

Tort

Damage! Wrongfut Death Tort

6.
i. Location where petitioner resides.
9.

Location of property or permanently garaged vehicle.

Location wherein defendant/respondent functions wholly.

40. Location of Labor Commissioner

Location where one or more of the parties reside.
Office

 

 

 

 

 

 

 

 

 

A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Auto (22) O A7100 Motor Vehicle - Personat Injury/Property Damage/Wrongful Death 1.,2.,4
Uninsured Motorist (46) O A7110 Personal tnjury/Property Damage/Wrongful Death — Uninsured Motorist | 1., 2., 4
O A6070 Asbestos Property Damage 2.
Asbestos (04)
O A7221 Asbestos - Personal InjuryWrongful Death 2.
Product Liability (24) O A7260 Product Liability (not asbestos or toxic/environmental) 1..2.,3.,4., 8.
. O A7210 Medical Malpractice - Physicians & Surgeons 1,4.
Medical Malpractice (45)
O A7240 Other Professional Health Care Malpractice 1.4.
O A7250 Premises Liability (e.g., slip and fall) 1.4
Other _
Personal Injury f A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g., 1
Property Damage assault, vandalism, etc.) .
a cael £1 7270 Intentional Infliction of Emotional Distress 1.8.
O A7220 Other Personal Injury/Property Damage/Wrongful Death 1.4.

 

 

 

 

LACIV 109 (Rev. 03/11)
LASC Approved 03-04

CIVIL CASE COVER SHEET ADDENDUM

LexisNexis® Automated California County Forms

AND STATEMENT OF LOCATION

Local Rule 2.0

Page 1 of 4

 

 

 
Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14. Page 18 of 38 Page ID #:70

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Business Tort (07) O A6029 Other Commercial/Business Tort (not fraud/breach of contract) 1., 3.
£5
oF Civil Rights (08) OO A6005 Civil Rights/Discrimination 1.,.2.,3
° —
a3
Ba Defamation (13) 1 A6010 Defamation (slander/libel) 1.,.2.,3
ss
‘SD
3 5 Fraud (16) O A6013 Fraud (no contract) 1.2.3
Cc _
os
co O A6017 Legal Malpractice 1, 2,
a 2 Professional Negligence (25) ;
ce  A6050 Other Professional Malpractice (not medical or legal) 1., 2.,
2a
Other (35) O A6025 Other Non-Persona! Injury/Property Damage tort 2.,3.
€ Wrongful Termination (36) O A6037 Wrongful Termination 1,,2.,3
E
>
2 CO A6024 Other Employment Complaint Case 1.,2.,3.
= Other Employment (15)
wi QO A6109 Labor Commissioner Appeals 10.
 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful 2.5
eviction) ™
B h of Contract’ Warra'
reac 08) ey Warranty O A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence) 2., 5.
(not insurance) 1 A6019 Negligent Breach of Contract/Warranty (no fraud) 14 2.5.
O A6028 Other Breach of Contract/Warranty (not fraud or negligence) 1. 2.5,
8 O A6002 Collections Case-Seller Plaintiff 2., 6., 6.
= Collections (09)
8 1 A6012 Other Promissory Note/Collections Case 2., 5.
Insurance Coverage (18) O A6015 Insurance Coverage (not complex) 1.,2., 5., 8.
O A6009 Contractual Fraud 1.2.3.5.
Other Contract (37) O A6031 Tortious Interference 1.,2.,3., 5.
CO A6027 Other Contract Dispute(not breach/insurance/fraud/negligence) 1.,,2.,3., 8.
Eminent Domain/Inverse O A7300 Eminent Domain/Condemnation Number of parcels. 2
Condemnation (14) parcels__
£
2 Wrongful Eviction (33) O A6023 Wrongful Eviction Case 2., 6.
o
ro
3 O A6018 Mortgage Foreclosure
a
oe Other Real Property (26) O A6032 Quiet Title
( A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure) “
Unlawful Detainer-Commercial | - 4g921 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 2.,6.
3 (31)
[=
‘S . . . 2
3 Untawful Pe Residential | 46020 Unlawful Detainer-Residential (not drugs or wrongful eviction) 2.,6.
Ss
Unlawful Detainer- .
5 Post-Foreclosure (34) O A6020F Unlawful Detainer-Post-Foreclosure 2., 6.
>
Unlawful Detainer-Drugs (38) | A6022 Unlawful Detainer-Drugs 2., 6.

 

 

 

 

 

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CIVIL CASE COVER SHEET ADDENDUM

AND STATEMENT OF LOCATION

Loca! Rule 2.0
Page 2 of 4

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 2:14-cv-02451-SVW-E Document1 Filed 04/01/14. Page 19 of 38 Page ID #:71
SHORT TITLE: CASE NUMBER
Glover v. City of Hawthorne
A B Cc
Civil Case Cover Sheet Type of Action Applicable Reasons -
Category No. (Check only one) See Step 3 Above
Asset Forfeiture (05) O A6108 Asset Forfeiture Case 2., 6.
2 Petition re Arbitration (11) OQ A6115 Petition to Compel/Confirm/Vacate Arbitration 2., 5.
>
oa
a O A6151 Writ - Administrative Mandamus 2., 8.
o
*S Writ of Mandate (02) O A6152 Writ - Mandamus on Limited Court Case Matter 2.
TS
3 O A6153 Writ - Other Limited Court Case Review 2.
Other Judicial Review (39) O A6150 Other Writ Judicial Review 2., 8.
5 Antitrust/Trade Regulation (03) | A6003 Antitrust/Trade Regulation 1,2. 8
S
2 Construction Defect (10) O A6007 Construction Defect 1.,,2.,3
5
M 2 .
2 Claims Inver Mass Tort | cy 6008. Claims Involving Mass Tort 1.,.2.,8
E
3°
Co Securities Litigation (28) O A6035 Securities Litigation Case 4.,2.,8
a
& Toxic Tort ; ;
3
a Environmental (30) O A6036 Toxic Tort/Environmental 1.2.3. 8.
>
°o
i Insurance Coverage Claims .
o. from Complex Case (41) O A6014 Insurance Coverage/Subrogation (complex case only) 1,, 2., 5., 8.
O A6141 Sister State Judgment 2., 9.
ee O A6160 Abstract of Judgment 2., 6.
o ow
5 5 Enforcement © A6107 Confession of Judgment (non-domestic relations) 2., 9.
2a of Judgment (20) C A6140 Administrative Agency Award (not unpaid taxes) 2., 8.
S&S wa
w ° O A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2., 8.
O A6112 Other Enforcement of Judgment Case 2., 8, 9.
an RICO (27) O A6033 Racketeering (RICO) Case 1.,2.,8
Sx
o
2 2 O A6030 Declaratory Relief Only 1., 2., 8.
co
3 8 Other Complaints O A6040 Injunctive Relief Only (not domestic/harassment) 2., 8.
2 5 (Not Specified Above) (42) | Ago11 Other Commercial Complaint Case (non-tortinon-complex) 1. 2., 8.
oO
O A6000 Other Civil Complaint (non-tort/non-complex) 1.,2., 8.
eae reranes (1) O A6113 Partnership and Corporate Governance Case 2., 8.
oo O A6121 Civil Harassment 2.,3.,9.
3 5 CO A6123 Workplace Harassment 2., 3.9.
c =
a —_
s 2 Other Petitions QO A6124 Elder/Dependent Adult Abuse Case 2.,3., 9.
3 5 (Not Specified Above) O A6190 Election Contest 2.
as) 43
=o (43) O A6110 Petition for Change of Name 2.,7.
O A6170 Petition for Relief from Late Claim Law 2., 3., 4., 8.
O A6100 Other Civil Petition 2., 9.

 

 

 

 

LACIV 109 (Rev. 03/11)
LASC Approved 03-04

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CIVIL CASE COVER SHEET ADDENDUM
AND STATEMENT OF LOCATION

Local Rule 2.0
Page 3 of 4

 
Case 2:14-cv-02451-SVW-E Document 1 Filed 04/01/14 Page 20 of 38 Page ID #:72

 

 

SHORT TITLE: CASE NUMBER

Glover v. City of Hawthorne

 

 

Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item tI., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

ADDRESS:
REASON: Check the appropriate boxes for the numbers shown
under Column C for the type of action that you have selected for
this case.

 

 

Southbound Eucalyptus
01. 02. 03. 4. 05. 06. 07. 08. O89. 010.
CITY: STATE: ZP CODE:
Hawthorne CA

 

 

 

 

 

Item IV. Declaration of Assignment. | declare under penalty of perjury under the laws of the State of California that the foregoing is true
and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk Courthouse courthouse in the

Central District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
Rule 2.0, subds. (b), (c) and (d)].

Dated: / S [ ly Neola 00 Ss be

(SIGNATURE OF ATTORNEY/FILING PARTY)

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.

2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010.
4

Civil se Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
03/11).

a

Payment in full of the filing fee, unless fees have been waived.

A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

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LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Loca! Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4

 
Case 2:14-cv-02451-SVW-E Document 1. Filed 04/01/14 Page 21 0f 38 Page ID aa

 

 

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9 s ber, and address): FOR COURT USE ONLY '

AVAeNaeP Ss. Braun, Esq. (bar # T52deiy om CONE SHMED copy

Law Office of Michael S. Braun Superior GN AL FILED

3820 Del Amo Blvd., #311 Onnty Ft ne california

Torrance, CA 90503 “eS

TELEPHONE NO.: (310) 984-3220 FAX NO.: FEB j 120;
ATTORNEY FOR (Name): Lionel Glover, Plaintiff 4
SUPERIOR COURT OF CALIFORNIA, couNTY OF LOS ANGELES Sherri R. Cart ;
street appress: 11] North Hill Street - Uarter, Executive Officer/Clerk

MAILING ADDRESS: By Cristina Gr ijalva, Deputy
city ano zip cone: Los Angeles 90012
prancHname: Central District- Stanley Mosk Courthouse

 

 

 

CASE NAME:
Glover v. City of Hawthorne
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER
Unlimited  L_] Limited . B C53 5903
CL] Counter LJ Joinder
(Amount (Amount JUDGE:
demanded demanded is Filed with first anpearance by defendant ,
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:

 

 

 

 

items 1—6 below must be completed (see instructions on page 2).

 

 

1. Check one box below for the case type that best describes this case:
Auto Tort Contract Provisionally Complex Civil Litigation
Auto (22) [_] Breach of contractiwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) [__] Rule 3.740 collections (09) [_] antitrusTrade regulation (03)
Other PI/PD/WD (Personal Injury/Property C_] Other collections (09) | Construction defect (10)
Damage/Wrongfu! Death) Tort [} Insurance coverage (18) [| Mass tort (40)
Asbestos (04) [-] other contract (37) C_| Securities litigation (28)
Product liability (24) Real Property C_ | Environmental/Toxic tort (30)
Medical malpractice (45) [__] Eminent domain/Inverse [__] insurance coverage claims arising from the
Other PI/PD/WD (23) condemnation (14) above listed provisionally complex case
Non-PU/PDIWD (Other) Tort [__] wrongful evietion (33) types (41)
[__] Business tort/unfair business practice (07) [_] Other reat property (26) Enforcement of Judgment
[] Civil rights (08) Unlawful Detainer C] Enforcement of judgment (20)
L_] Defamation (13) [_] Commercial (31) Miscellaneous Civil Complaint
[] Fraud (16) [] Residential (32) [_] rico (27)
[__] intelectual property (19) ["] Drugs (38) [__] other complaint (not specified above) (42)
[__] Professional negligence (25) Judicial Review Miscellaneous Civil Petition
L_] other non-P/PD/WD tort (35) [__] Asset forfeiture (05) Partnership and corporate governance (21)
Employment LJ Petition re: arbitration award (11) [_] Other petition (not specified above) (43)
CL | Wrongful termination (36) LC] Writ of mandate (02)
‘| Other employment (15) [| Other judicial review (39)

 

 

2. Thiscase |_| is is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. L_] Large number of separately represented parties d. L_] Large number of witnesses

b. LC] Extensive motion practice raising difficult or novel _e. [] Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court

c. L_] Substantial amount of documentary evidence f. C] Substantial postjudgment judicial supervision

Remedies sought (check all that apply): a.[[X_] monetary ».[__] nonmonetary; declaratory or injunctive relief. LX ] punitive
Number of causes of action (specify): FIVE (5)

This case | is isnot aclass action suit.

. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

ce [y
Date: 2 S-1Y ’ f
Michael S. Braun, Esq. s 6
(TYPE OR PRINT NAME) (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

NOTICE
e Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions.
e File this cover sheet in addition to any cover sheet required by local court rule.
° If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

e Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. tof?
age 1 0

DAR w

 

 

 

Form Adopted for Mandatory Use Cal, Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of California CIVIL CASE COVER SHEET Cat. Standards of Judicial Administration, std. 3.10
CM-010 (Rev. July 1, 2007] www.courtinio.ca.gov

LexisNexis® Automated California Judicial Council Forms
Case 2:14-cv-02451-SVW-E Document1 Filed 04/01/14 Page 22 of 38 Page ID #:74
cots ' SUPERIOG °OURT OF CALIFORNIA. COUNTY *LOS ANGELES -
NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL PERSONAL INJURY CASE
Case Number

 

 

 

 

 

 

 

THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT C 5 3 5 g 0 3
our case is assigned for all purposes to the judicial officer indicated below (Local Rule 3.3(c)).
ASSIGNED JUDGE DE ROOM ASSIGNED JUDGE DEPT ROOM
Hon. Gregory Keosian iy 635
Hon. Elia Weinbach 92 633
Hon. Samantha P. Jessner 93 631
Hon. Teresa Beaudet 97 630

 

 

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Given to the Plaintiff/Cross-Complainant/Attorney of Record on SHERRI R. CARTER, Executive Officer/Clerk
cep h

LACIV PI 190 (Rev09/13) CC

LASC Approved 05-06 By , Deputy Clerk

For Optical Use

NOTICE OF CASE ASSIGNMENT ~
UNLIMITED CIVIL CASE
Ch

se 2:14-cv-02451-SVW-E Document1 Filed 04/01/14 Page 23 of 38 Page ID #:75

FILED
sr aS Se
2 JUL 15 2013
3 John A. Clarke, Executive Officer/Clerk
BYE pra Aten, Depry
4
5 SUPERIOR COURT OF THE STATE OF CALIFORNIA
‘ FOR THE COUNTY OF LOS ANGELES
4 ) Case No.: BC5359 08
In re Personal Injury Cases Assigned to the )

and 93) )} PERSONAL INJURY COURT (“PI Court”)
9 ) PROCEDURES (Effective as of July 10,
) 2013)
10
ll
0 DEPARTMENT: 91 92 © 93 mh
2yeo
13 FINAL STATUS CONFERENCE (“FSC”): ot “
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14 © Date: at, 10:00 a.m.
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e Date: wii at 8:30 a.m.
17 “
ta OSC re DISMISSAL (Code Civ. Proc., § 583,210):
19 e Date: at 8:30 a.m.
20
TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

21
» Pursuant to the California Code of Civil Procedure (“C.C.P.”), the California
23 Rales of Court, and the Los Angeles County Court Rules (“Local Rules”), the Los
24 ||Amgeles Superior Court (“LASC” or “Court”) HEREBY AMENDS AND
25 ||SUPERSEDES ITS March 12, 2013 GENERAL ORDER AND GENERALLY
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Personal Injury Courts (Departments 91,92 ) AMENDED GENERAL ORDER RE

 

 

 

 

 

 

 

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ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
PERSONAL INJURY ACTIONS:

Effective March 18, 2013, the Court responded to systemic budget reductions by
centralizing the management of more than 18,000 general jurisdiction personal injury cases
in the Stanley Mosk Courthouse. LASC opened three Personal Injury Courts (“PI Courts”)
(Departments 91, 92 and 93) to adjudicate all pretrial matters for these cases. It also

established a Master Calendar Court (Department One), to manage the assignment of trials to
31 dedicated Trial Courts located countywide. This Amended General Order lays out the
basic procedures for the PI Courts’ management of pretrial matters. The parties will find

additional information about the PI Courts on the court’s website, www.lasuperiorcourt.org.

1. To ensure proper assignment to a PI Court, Plaintiff{s) must carefully fill out the Civil

Case Cover Sheet Addendum (form LACIV 109). The Court defines “personal injury” as:
“an unlimited civil case described on the Civil Case Cover Sheet Addendum and
Statement of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property
Damage/Wrongful Death; Personal Injury/Property Damage/Wrongful Death-
Uninsured Motorist; Product Liability (other than asbestos or
toxic/environmental); Medical Malpractice-Physicians & Surgeons; Other
Professional Health Care Malpractice; Premises Liability; Intentional Bodily
Injury/Property Damage/Wrongful Death; or Other Personal Injury/Property
Damage/Wrongful Death. An action for intentional infliction of emotional
distress, defamation, civil rights/discrimination, or malpractice (other than
medical malpractice), is not included in this definition. An action for injury to

real property is not included in this definition.” Local Rule 2.3(a)(1){A).

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The Court will assign a case to the PI Courts if plaintiff{s) check any of the following
boxes in the Civil Case Cover Sheet Addendum:

A7100 Motor Vehicle — Personal Injury/Property Damage/Wrongful
Death

A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured
Motorist
A7260 Product Liability (not asbestos or toxic/environmental)
A7210 Medical Malpractice — Physicians & Surgeons
A7240 Medical Malpractice ~ Other Professional Health Care Malpractice
A7250 Premises Liability (e.g., slip and fall)
A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
assault, vandalism etc.)
A7220 Other Personal Injury/Property Damage/Wrongful Death
The Court will not assign cases to the PI Courts if plaintiff{s) check any boxes
elsewhere in the Civil Case Cover Sheet Addendum (any boxes on pages two and

three of that form).

2. The Court sets the above dates in this action in the PI Court circled above
(Department 91, 92 or 93) at the Stanley Mosk Courthouse, 111 North Hill Street, Log
Angeles, CA 90012. Cal. Rules of Court, Rules 3.714(b)(3), 3.729.
SERVICE OF SUMMONS AND COMPLAINT

3. Plaintifi(s) shall serve the summons and complaint in this action upon defendant(s)
within three years of the date when the complaint is filed. C. C. P. § 583.210, subd. (a). On

the OSC re Dismissal date noted above, the PI Court will dismiss the action and/or all

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unserved parties unless the plaintiff(s) show cause why the action or the unserved parties
should not be dismissed. C.C.P. §§ 583.250; 581, subd. (b)(4).

4, The Court sets the above trial and FSC dates on condition that plaintiff(s) effectuate
service on defendant(s) of the summons and complaint within six months of filing the
complaint. Upon a showing that the plaintiff(s) failed to effect service within six months, the
PI Court will vacate the trial and FSC date noted above.

STIPULATIONS TO CONTINUE TRIAL

5. Provided that all parties agree (and there is no violation of the “five-year rule,” C.C.P.
§ 583.310), the parties may advance or continue any trial date in the PI Courts without
showing good cause or articulating any reason or justification for the change. To continue or
advance a trial date, the parties (or their counsel of record) should jointly execute and file (in
Room 102 of the Stanley Mosk Courthouse; fee required) a Stipulation to Continue Trial,
FSC and Related Motion/Discovery Dates (form available on the court’s website, Personal
Injury Court link). The PI Courts schedule FSCs for 10:00 a.m., eight (8) court days before
the trial date. Parties seeking to continue the trial and FSC dates shall file the Stipulation at
least eight court days before the FSC date. Parties seeking to advance the trial and FSC
dates shall file the Stipulation at least eight court days before the proposed advanced FSC
date. Code Civ. Proc., § 595.2; Govt. Code § 70617, subd. (c)(2).

NO CASE MANAGEMENT CONFERENCES

6. The PI Courts do not conduct Case Management Conferences. The parties need no
file a Case Management Statement.
LAW AND MOTION

Chambers Copies Required

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7. In addition to filing original motion papers in Room 102 of the Stanley Mosk
Courthouse, the parties must deliver, directly to the Pf Court courtrooms, an extra copy
(marked “Chambers Copy”) of reply briefs and all other motion papers filed less than seven
(7) court days before a hearing calendared in the PI Courts. The PI Courts also strongly
encourage the parties filing and opposing lengthy motions, such as motions for summary
judgment/adjudication, to submit one or more three-ring binders organizing the cone
Copies behind tabs.

Reservation of Hearing Date
8. Parties are directed to reserve hearing dates for motions in the Pl Courts using the
Court Reservation System available online at www.lasuperiorcourt.org (link on homepage).
Parties or counsel who are unable to utilize the online Court Reservation System may reserve

a motion hearing date by telephoning the PI Court courtroom, Monday through Friday,

between 3:00 p.m. and 4:00 p.m.
Withdrawal of Motion

9. California Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the
PI Courts urge parties who amend pleadings in response to demurrers to file amended

pleadings before the date when opposition to the demurrer is due so that the PI Courts do nof

needlessly prepare tentative rulings on demurrers.

Discovery Motions
10. Informal Discovery Conferences (“IDCs”). On a daily basis, the PI Court judges are

available to conduct 30-minute, in-person IDCs with lead trial counsel on each side (or

another attorney who has full authority to make binding agreements in discovery disputes).

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The PI Court judges will not make rulings in an IDC. The purpose of the IDC is to help the
parties resolve discovery disputes by agreement rather than by motion practice. To that end,
an IDC judge may refer the parties to applicable code sections or other legal authorities. The
IDC judge may also promote compromise by suggesting agreements to narrow the scope of
the requests, to provide amended responses that better explain the responding party’s
compliance, or to use an alternative, more efficient means of discovery. The PI Court judges
find that, in nearly every case, the parties amicably resolve their discovery disputes at, or as. a
result of, the IDCs.
11. | Scheduling IDCs. Parties should reserve (and, if necessary, promptly cancel)
appointments for IDCs via email to PJSMC@Jasuperiorcourt.org. Parties should schedule an
IDC as soon as a discovery dispute arises, and before any party files a discovery motion. The
PI Court judges expect the parties to make every effort to resolve discovery disputes by
conferring in person or on the telephone before the PI Court judge invests time in the IDC.

Scheduling or participating in an IDC does not extend any deadlines imposed by the Code of

 

Civil Procedure for noticing and filing motions to compel or motions to compel furth
discovery. In order to avoid unnecessary ex parte applications, the PI Courts recommen
that the parties extend deadlines for filing discovery motions and for serving discov
responses pending their participation in the IDC.

12. Motions to Compel Further Responses. The PI Courts will not hear motions to
compel further discovery unless and until (a) the parties participate in an IDC; or (b) the
moving party submits evidence, by way of declaration, that the opposing party has failed or
refused to participate in an IDC. To allow time for an IDC at least 16 court days before the

motion hearing, parties must reserve a hearing on any motion to compel further discovery at

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10:00 a.m. on a date at least 60 days after the date when the reservation is made. Parties
must reserve an IDC with the same judge who is scheduled to hear any discovery motion
involving the same discovery. Likewise, a party who participates in an IDC regarding certain
discovery requests, and then files a motion to compel further responses to the same discovery
requests, must calendar the motion for a hearing before the same judge who conducted the
IDC. After participating in an IDC, a moving party may advance the hearing on a motion to
compel further discovery to 10:00 a.m. on any available hearing date that complies with the
notice requirements of the Code of Civil Procedure. The PI Courts may consider a party's
failure or refusal to participate in an IDC as a factor in deciding whether or not to award
sanctions on a motion to compel further discovery.

Ex Parte Applications

13. Under the California Rules of Court, courts may only grant ex parte relief upon 4
showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
“immediate danger,” or where the moving party identifies “a statutory basis for granting
relief ex parte.” Cal. Rules of Court, Rule 3.1202(c). With over 6,000 cases in each docket!
the three PI Courts have no capacity to hear multiple ex parte applications or to shorten time
to add hearings to their fully booked motion calendars. The PI Courts do not regard the
Court’s unavailability for timely motion hearings as an “immediate danger” or threat of
“irreparable harm” justifying ex parte relief. Instead of seeking ex parte relief, counsel

should reserve the earliest available motion hearing date, and stipulate with all parties to

 

continue the trial to a date thereafter using the Stipulation to Continue Trial, FSC and Relat

Motion/Discovery Dates (form available on the court’s website, PI Court Tab). Counse

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should also check the Court Reservation System from time to time because earlier teving
dates may become available as cases settle or counsel otherwise take hearings off calendar.
REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

14. Parties seeking to transfer a case from a PI Court to an Independent Calendar (“I/C”)
Court shall file (in Room 102 of the Stanley Mosk Courthouse) and serve the Court’s
“Motion to Transfer Complicated Personal Injury Case to Independent Calendar Court”
(form available on the Court's website, PI Courts link). The PI Courts will transfer a matter
to an I/C Court if the case is not a “Personal Injury” case as defined in the General Order re
General Jurisdiction PI Cases, or if it is “complicated.” In determining whether a personal
injury case is too “complicated” for the PI Courts to manage, the PI Courts will consider,
among other things, whether the case will involve numerous parties, cross-complaints,
witnesses (including expert witnesses), and/or pretrial hearings.

15. Parties opposing a motion to transfer have five days to file (in Room 102) an
Opposition (using the same Motion to Transfer form).
16. The PI Courts will not conduct a hearing on any Motion to Transfer to /C Court,
Although the parties may stipulate to transfer a case to an Independent Calendar Department,
the PI Courts will make an independent determination whether to transfer the case or not.
GENERAL ORDER - FINAL STATUS CONFERENCE

17. Parties shall comply with the requirements of the PI Courts’ “Amended General]
Order — Final Status Conference,” which shall be served with the summons and complaint.
JURY FEES

18. Parties must pay jury fees no later than 365 calendar days after the filing of the initial

complaint. (Code Civ. Proc., § 631, subds. (b) and (c).)

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JURY TRIALS
19. | The PI Courts do not conduct jury trials. On the trial date, a PI Court will transfer the

case to the Master Calendar Court in Department One in the Stanley Mosk Courthouse!
Department One assigns the case out for trial to one of 31 dedicated Trial Courts located in
the Stanley Mosk, Chatsworth, Van Nuys, Santa Monica, Torrance, Long Beach, Pomona,
and Pasadena courthouses.
SANCTIONS

20. The Court has discretion to impose sanctions for any violation of this general order.

(C.CP. §§ 128.7, 187 and Gov. Code, § 68608, subd. (b).)

Dated: July 15, 2013

    
 

aniel J. Buciley
Supervising Judge, Civil
Los Angeles Superior Co

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FILED

SUPERIOR COURT OF GALEFORNIA
COUNTY OF LOS AN

JUL 19 2013

John A. Clarke, Executive Officer/Clerk
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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

Case No.:

AMENDED GENERAL ORDER - FINAL

In re Personal Injury Cases Assigned to the )

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) STATUS CONFERENCE, PERSONAL
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Personal Injury Courts (Departments 91, 92
and 93),

INJURY ("PI") COURTS (Effective as of July
19, 2013)

 

The dates for Trial and Final Status Confererice (“FSC”) having been set in this matter, the Court
HEREBY AMENDS AND SUPERSEDES ITS March 12, 2013 GENERAL ORDER -
FINAL STATUS CONFERENCE AND GENERALLY ORDERS AS FOLLOWS IN THIS
AND ALL OTHER GENERAL JURISDICTION PERSONAL INJURY ACTIONS:

1. PURPOSE OF THE FSC

The purpose of the FSC is to verify that the parties/counsel are completely ready to

proceed with trial continuously and efficiently, from day to day, until verdict. The PI Courts
will verify at the FSC that all parties/counsel have (1) prepared the Exhibit binders and Trial
Decument binders and (2) met and conferred in an effort to stipulate to ultimate facts, legal
issues, motions in limine, and the authentication and admissibility of exhibits.
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Amended General Order FSC - 4

 

 
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2. TRIAL DOCUMENTS TO BE FILED

At least five calendar days prior to the Final Status Conference, the parties/counsel shall serve
and file (in Room 102 of the Stanley Mosk Courthouse) the following Trial Readiness
Documents:

A. TRIAL BRIEFS (OPTIONAL)
Each party/counsel may file, but is not required to file, a trial brief succinctly identifying:

(1) the claims and defenses subject to litigation;

(2) the major legal issues (with supporting points and authorities);

(3) the relief claimed and calculation of damages sought; and

(4) any other information that may assist the court at trial.

B. MOTIONS INLIMINE
Before filing motions in limine, the parties/counsel shall comply with the statutory notice
provisions of Code of Civil Procedure (“C.C.P.”) Section 1005 and the requirements of Los
Angeles County Court Rule (“Local Rule”) 3.57(a). The caption of each motion in limine shall
concisely identify the evidence that the moving party seeks to preclude. Parties filing more than
one motion in limine shall number them consecutively. Parties filing opposition and reply papers
shall identify the corresponding motion number in the caption of their papers.

C. JOINT STATEMENT TO BE READ TO THE JURY
For jury trials, the parties/counsel shall work together to prepare and file a joint written statement
of the case for the court to read to the jury. Local Rule 3.25(i)(4).

D. JOINT WITNESS LIST
The parties/counsel shall work together to prepare and file a joint list of all witnesses that each
party intends to call (excluding impeachment and rebuttal witnesses). Local Rule 3.25(i5).

Amended General Order FSC - 2

 

 
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The joint witness list shall identify each witness by name, specify which witnesses are experts,
and estimate the length of the direct, cross examination re-direct examination (if any) of each
witness. The parties/counsel shall identify and all potential witness scheduling issues and special}
requirements. Any party/counsel who seeks to elicit testimony from a witness not identified on
the witness list must first make a showing of good cause,
E. LIST OF PROPOSED JURY INSTRUCTIONS (JOINT AND
CONTESTED)

The parties/counsel shall jointly prepare and file a list of proposed jury instructions, organized in
numerical order, specifying the instructions upon which all sides agree and the contested

instructions, if any.
F. JURY INSTRUCTIONS (JOINT AND CONTESTED)

The parties/counsel shall prepare a complete set of full-text proposed jury instructions, editing all]
proposed California Civil Jury Instructions for Judges and Attomeys (“CACI”) instructions to
insert party names and eliminate blanks and irrelevant material. The parties shall prepare special
instructions in a format ready for submission to the jury (placing citations of authority and the

identity of the requesting party above the text in compliance with Local Rules 3.170 and 3.171).

G. JOINT VERDICT FORM(S)
The parties/counsel shall prepare and jointly file a proposed general verdict form or special
verdict form (with interrogatories) acceptable to all sides, If the parties/counsel cannot agree on
a joint verdict form, each party must separately file a proposed verdict form. Local Rule
3.25(i){7) and (8).
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Amended General Order FSC - 3

 
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H. JOINT EXHIBIT LIST

The parties/counsel shall prepare and file a joint exhibit list organized with columns identifying
each exhibit and specifying each party’s evidentiary objections, if any, to admission of each
exhibit. To comply with Local Rules 3.52(i)(5) and 3.53, the parties shall meet and confer in an
effort to resolve objections to the admissibility of each exhibit.

3. EVIDENTIARY EXHIBITS
The parties/counsel shall jointly prepare (and be ready to temporarily lodge for inspection at the
FSC), three sets of tabbed, internally paginated and properly-marked exhibits, organized
numerically in three-ring binders (a set for the Court, the Judicial Assistant and the witnesses).
The parties/counsel shall mark all non-documentary exhibits and insert a simple written
description of the exhibit behind the corresponding numerical tab in the exhibit binder.

4. TRIAL BINDERS REQUIRED IN THE PI COURTS

The parties/counsel shall jointly prepare (and be ready to temporarily lodge for inspection at
the FSC) the Trial Documents, tabbed and organized into three-ring binders as follows:

Tab A: Trial Briefs

Tab B: Motions in limine

Tab C: Joint Statement to Be Read to the Jury

Tab D: Joint Witness List

Tab E: Joint List of Jury Instructions (identifying the agreed upon and contested —
instructions)

Tab F: Joint and Contested Jury Instructions

Tab G: Joint and/or Contested Verdict Forms

Amended General Order FSC - 4

 
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The parties shall organize motions in limine (tabbed in numerical order) behind tab B with
the opposition papers and reply papers for each motion placed directly behind the moving
papers. The parties shall organize proposed jury instructions behind tab F, with the agreed upon
instructions first in order followed by the contested instructions (including special instructions)
submitted by each side.

5. FAILURE TO COMPLY WITH FSC OBLIGATIONS
The court has discretion to require any party/counsel who fails or refuses to comply with this
General Order to Show Cause why the court should not impose monetary, evidentiary and/or

issue sanctions (including the entry of a default or the striking of an answer).

Dated this 19" day of July, 2013

    
  

Daniel J. Buckley
Supervising Tudge, Civil
Los Angeles Superior Court

Amended General Order FSC - 5

 

 

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LAW OFFICE OF MICHAEL S. BRAUN
MICHAEL S. BRAUN, ESQ. (SBN 152461)
3820 Del Amo Boulevard, Suite 311
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Telephone: (310) 984-3320

Facsimile: (310) 984-3221

Attorney for Plaintiff,

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

 

LIONEL GLOVER ) CASE NO: BC 535903
)
)
Plaintiff, )
) STATEMENT OF DAMAGES
v. )
CITY OF HAWTHORNE, OFFICER )
TAYO, OFFICER MATTSON and )
DOES 1-50, inclusive )
)
Defendants. )
)
TO ALL PARTIES OF INTEREST:

YOU AND EACH OF YOU PLEASE TAKE NOTICE that the amount of damages

sought in the above-entitled action are as follows:

1. Special Damages in the amount of $100,000.00 or more.
2. General Damages in the amount of $200,000.00 or more.
3. Cost of suit.

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STATEMENT OF DAMAGES 1

 

 
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Dated: March 10, 2014

 

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4. Such other and further relief as the Court may deem just and proper.

LAW OFFICE OF MICHAEL S. BRAUN

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"MICHAEL S. BRAUN, Attorney
for Plaintiff, Lionel Glover

 
